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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re                                                     )     Chapter 11
                                                              )
    TOUGH MUDDER INC., et al.,1                               )     Case No. 20-10036 (CSS)
                                                              )
                            Debtors.                          )     Jointly Administered
                                                              )
                                                              )     RE: D.I. 74
                                                              )

     CERTIFICATE OF NO OBJECTION REGARDING CHAPTER 11 TRUSTEE’S
    MOTION FOR ENTRY OF AN ORDER (I) EXTENDING THE TIME TO FILE RULE
             2015.3 REPORTS AND (II) GRANTING RELATED RELIEF

                    The undersigned hereby certifies that, as of the date hereof, Morris, Nichols,

Arsht & Tunnell LLP (“Morris Nichols”) has received no answer, objection, or other responsive

pleading to the Chapter 11 Trustee’s Motion for Entry of an Order (I) Extending the Time to File

Rule 2015.3 Reports and (II) Granting Related Relief [D.I. 74] (the “Motion”), filed on February

24, 2020.

                    The undersigned further certifies that Morris Nichols has caused the review of the

Court’s docket in these cases and that no answer, objection, or other responsive pleading to the

Motion appears thereon. Pursuant to the notice of hearing on the Motion, the deadline to file and

serve objections or responses to the Motion was March 9, 2020, at 4:00 p.m. (EDT).




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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               WHEREFORE, the Trustee respectfully requests that the order attached to the

Motion be entered at the earliest convenience of the Court.

Dated: March 10, 2020                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                        /s/ Brett S. Turlington
                                       Curtis S. Miller (No. 4583)
                                       Joseph C. Barsalona II (No. 6102)
                                       Brett S. Turlington (No. 6705)
                                       1201 N. Market Street, 16th Floor
                                       P.O. Box 1347
                                       Wilmington, Delaware 19899-1347
                                       Telephone: (302) 658-9200
                                       Facsimile: (302) 658-3989
                                       Email: cmiller@mnat.com
                                              jbarsalona@mnat.com
                                              bturlington@mnat.com

                                       Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                       11 Trustee to Tough Mudder Inc. and Tough Mudder
                                       Event Production Inc.
